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UNITED STATES DISTRICT COURT                  )
                                              )
NORTHERN DISTRICT OF ILLINOIS                 )

                                    AFFIDAVIT

      I, Steven Moran, being duly sworn, state as follows:

      1.     I am a Special Agent with the Homeland Security Investigations. I have

been so employed since approximately March 2020.

      2.     As part of my duties as Homeland Security Investigations Special Agent,

I investigate criminal violations relating to child exploitation and child pornography,

including violations pertaining to the sexual exploitation of children, travel with

intent to engage in illicit sexual conduct with minors, and the illegal production,

distribution, receipt, and possession of child pornography. I have received training in

the area of child pornography and child exploitation, and have observed and reviewed

numerous examples of child pornography (as defined in 18 U.S.C. § 2256) in multiple

forms of media, including computer media. I also have participated in the execution

of multiple federal search warrants, many of which have involved child exploitation

and/or child pornography offenses. I have participated in the execution of multiple

federal search warrants.

      3.     This affidavit is made in support of an application for a warrant to

search, pursuant to Title 18, United States Code, Sections 2703(a), 2703(b)(1)(A) and

2703(c)(1)(A), for information associated with a certain account that is stored at the

premises owned, maintained, controlled, or operated by Microsoft Corporation, a

business with offices located at 1 Microsoft Way, Redmond, Washington 98052. The
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accounts to be searched are the Skype accounts live: karlquilter (“Subject Account

1”), and live:51746ca6e2623e9e (“Subject Account 2”) (collectively, the “Subject

Accounts”), which are further described in the following paragraphs and in Part II

of Attachment A. As set forth below, there is probable cause to believe that in the

account, described in Part II of Attachment A, in the possession of Microsoft, there

exists evidence, instrumentalities, fruits, and contraband described further in

Attachment B concerning the sexual exploitation of children, in violation of Title 18,

United States Code, Section 2251; possession, receipt, and distribution of child

pornography offenses, in violation of Title 18, United States Code, Sections 2252 and

2252A; the coercion and enticement of minors to engage in sexual activity, in violation

of Title 18, United States Code, Section 2422; and the travel with intent to engage in

illicit sexual conduct with minors in violation of Title 18, United States Code, Section

2423, (the “Subject Offenses”).

      4.     The statements in this affidavit are based on my personal knowledge,

and on information I have received from other law enforcement personnel and from

persons with knowledge regarding relevant facts. Because this affidavit is being

submitted for the limited purpose of securing a search warrant, I have not included

each and every fact known to me concerning this investigation. I have set forth facts

that I believe are sufficient to establish probable cause to believe that evidence,

instrumentalities, fruits, and contraband of the Subject Offenses, are located in the

Subject Accounts.


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I.     BACKGROUND INFORMATION

       A.    Skype

       5.    In my training and experience, as well as from my review of publicly

available information, I know that Skype is a software product that allows users to

conduct video chats and voice calls over the internet. Skype users can also send

instant messages, exchange files and images, send video messages, and create

conference calls. Skype software is available for use on personal computers as well as

smartphones and tablets. Skype was first released in 2003. It was acquired by

Microsoft in 2011 and is now a division of Microsoft Corporation.

       6.    Microsoft’s privacy statement, which was last updated in January 2020

and is available at https://privacy.microsoft.com/en-us/privacystatement, states

that Microsoft can collect the content of files and communications that a user inputs,

uploads, receives, creates and controls. This can include the contents of chats,

including audio, video and text.

       7.    According to support information provided by Microsoft and available at

https://support.skype.com/en/faq/FA34893/how-long-are-files-and-data-

available-in-skype, “Skype stores files and photos you’ve shared, calls you’ve recorded,

and other items for easy access across all your devices.” Messages, videos and pictures

are available until they are deleted or dated back to April 2017, 1 and chat titles are



1 From other open-source internet research, it appears that the reference to April 2017 was

because the Skype support information was posted to Microsoft’s web site in April 2019. It
appears Skype will save chat history for a period of two years.
                                            3
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available until deleted or users leave conversations. Thus, depending on when a chat

occurred and whether a user elected to delete it, it is possible that the content of chats

will be found on servers controlled by Microsoft.

      8.     Skype allows subscribers to create user accounts and create a unique

member name. The user can change this username at any time. The Skype ID

associated with the Skype account, by contrast, cannot be changed by the user. For

example, Skype member “exampleuser123” could change the member name to

another series of letters, numbers or symbols, but the Skype ID associated with the

Subject Accounts, e.g., live:exampleuser123, would remain the same.

      9.     A Skype subscriber can also store contact lists on servers maintained

and/or owned by Microsoft. In my training and experience, evidence of who was using

an online account, such as Skype, may be found in address books or contact lists.

      10.    Based on information provided by Skype to law enforcement, the

following types of information will be provided upon receipt of appropriate legal

process:

             •      Registration Details: information captured at time of account
                    registration;
             •      Billing Address: User-provided billing addresses;
             •      Payment Method/Instrument Data;
             •      Purchase History: transactional records;
             •      IP Logs: IP addresses captured at the time of the user login to the
                    Skype service;
             •      Skype Number Service History: list of Skype Number(s)
                    subscribed to by a user;
             •      Skype Out Records: Historical call detail records for calls placed
                    to the public switched telephone network (PSTN);


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             •      Skype Number Records: Historical call detail records for calls
                    received from the public switched telephone network (PSTN);
             •      SMS Records: SMS historical detail records;
             •      E-mail records: historical record of e-mail change activity;
             •      Skype username’s Contact/Buddy List; and
             •      Skype username’s Chat/Media content.

      11.    Chat content on Skype’s servers may enable investigators to identify

other customers who may participate in the abuse of children by directing the

activity, as well as additional co-conspirators. The Subject Accounts’ contact lists

may likewise serve to identify additional victims and other co-conspirators.

      12.    Therefore, the computers of Microsoft Corporation are likely to contain

all the material just described, including stored electronic communications and

information concerning subscribers and their use of Microsoft Corporation, such as

account access information, transaction information, and account application. In

order to accomplish the objective of the search warrant with a minimum of

interference with the business activities of Microsoft Corporation, to protect the

rights of the subject of the investigation and to effectively pursue this investigation,

authority is sought to allow Microsoft Corporation to make a digital copy of the entire

contents of the information subject to seizure specified in Section II of Attachment A.

That copy will be provided to me or to any authorized federal agent. The contents will

then be analyzed to identify records and information subject to seizure pursuant to

Section III of Attachment A.




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II.     FACTS SUPPORTING PROBABLE CAUSE TO SEARCH THE
        SUBJECT ACCOUNTS

        13.   In summary, KARL QUILTER has been charged by criminal complaint

in the United States District Court for the Northern District of Illinois with receipt

of child pornography, in violation of Title 18, United States Code, Section

2252A(a)(2)(A) in case 20 CR 826. As part of the investigation into QUILTER, law

enforcement discovered sexually explicit communications (and images) exchanged

between QUILTER and multiple minors victims located in the Philippines. During

the execution of a search warrant at QUILTER’s residence, law enforcement

recovered, among other things, an LG Stylo 4 cellular phone (the “LG Phone”) and a

Samsung model GT-P5210 tablet (the “Samsung Tablet”), from QUILTER’s bedroom.

Further law enforcement review and analysis of these devices revealed Skype

communications in which QUILTER used the Subject Accounts to communicate

with certain of his minor victims, including Minor E and Minor F, who both reside in

the Philippines.

        A.    Communications Between Facebook Account 1 and Minor A

        14.   According to information provided to law enforcement by the National

Center for Missing and Exploited Children (“NCMEC”), on or about June 29, 2020,

Facebook reported to NCMEC the possible enticement and sexual exploitation of a

minor on its site. 2


2 In my training and experience, I have learned that, according to Facebook’s operational

guidelines for law enforcement authorities, Facebook reports all apparent instances of child
exploitation appearing on its site from anywhere in the world to NCMEC. NCMEC
                                             6
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      15.   According to NCMEC, a Facebook account bearing display name

“Mathew Jones” (“Facebook Account 1”) had communicated through Facebook

Messenger with another Facebook account believed to be used, based on the content

of the communications, by a child victim approximately fifteen or sixteen years old

(“Minor A”). Also according to NCMEC, as of June 29, 2020, Minor A’s estimated

location was Silay City, Philippines, and the user of Facebook Account 1’s estimated

location was Northbrook, Illinois. The NCMEC report to law enforcement also

included excerpts of communications between the Facebook accounts, provided by

Facebook to NCMEC.

      16.   For example, according to NCMEC, on or about May 16, 2020, between

approximately 6:19 a.m. UTC to 6:23 a.m. UTC, the Facebook accounts exchanged

the following messages:

            Minor A:                  i’m 15 years old and tomorrow its m birthday
                                      and im 16 years old tomorrow

            Facebook Account 1:       Am in mt Bed sick right now with Covid19 am
                                      trying to get well

            Minor A:                  and you how old are you?

            Facebook Account 1:       Am very old can u take a guess from my pic
                                      how old I am

            Minor A:                  true? Rest on your own and you will be well,
                                      get well soon

            Minor A:                  maybe your 35 years old?


coordinates with the International Center for Missing and Exploited Children and law
enforcement authorities around the world.
                                         7
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              Facebook Account 1:          no am 55 years old too old for you 3

       17.    Also according to NCMEC, on or about May 27, 2020, beginning at

approximately 4:57 p.m. UTC, the Facebook accounts exchanged the following

messages:

              Facebook Account 1:          If u do what i tell u then i can trust u and i
                                           will make sure u can buy food for 2 weeks and
                                           your medication but i want to see your face
                                           and i want to see your Boobs Pussy clearly i
                                           want u to open your legs wide and your Pussy
                                           so i can see the beauty inside and dont be shy
                                           because if you do this u will be my gf so no
                                           need to be shy

              Facebook Account 1:          Am not forcing u but if u do this think of your
                                           little sister that she can est for 2 weeks
                                           everyday 3 meals a day and u get well

       18.    Also according to NCMEC, on or about May 27, 2020, at approximately

5:03 p.m. UTC, the Facebook accounts exchanged the following messages:

              Minor A:                     I did it for you and I hope you are done

              Minor A:                     I did this to help my brothers and sister and
                                           to eat more for a day

       19.    Minor A’s Facebook account then uploaded additional content that has

since been obtained pursuant to a search warrant to Facebook, consisting of

approximately three nude images of Minor A: (1) at approximately 5:05 p.m. UTC, a

frontal image of Minor A, standing with her hands at her sides, nude and facing the



3 As noted below in footnote 8, according to Illinois Secretary of State records, QUILTER was

in fact 55 years old at the time of these messages.
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phone or camera, with her face, breasts, and mons pubis visible; (2) at approximately

5:11 p.m. UTC, an image of Minor A completely nude and facing sideways, with her

face, breasts, and the side of her buttocks visible; and (3) at approximately 5:17 p.m.

UTC, an image appearing based on the angle to be a frontal image of Minor A taken

as a “selfie”—that is, by Minor A while she was holding the phone or camera—while

she was sitting with her legs apart and the phone or camera between her legs facing

her, such that her face, breasts, and labia are visible. 4

      20.    Also according to NCMEC, on or about May 27, 2020, at approximately

5:22 p.m. UTC, the Facebook accounts exchanged the following messages:

             Facebook Account 1:         But u did not do what I ask u to open your legs
                                         and yoir pussy so I can see inside baby

             Minor A:                    will I show my pussy?

             Facebook Account 1:         Yes baby u sit on Bed open your legs wide and
                                         open your pussy so I can see clearly inside
                                         pussy how beautiful it is baby don’t be shy

      21.    Also according to NCMEC, on or about May 27, 2020, at approximately

5:29 p.m. UTC, the Facebook accounts exchanged the following messages:

             Facebook Account 1:         Now i can accept your Apology and u can be
                                         my gf if u want because u doing your promise
                                         can u take your hand and open pussy baby


4 With respect to the images exchanged between Minor A’s Facebook account and Facebook

Account 1, referenced in paragraphs 19, 22, and 27 of this section, I compared these images
to photos displayed on Minor A’s publicly available Facebook page and believed to be photos
of the user of the account, Minor A, based on the volume and angles of the photos, some of
which appear to have been taken as “selfies.” Based on my review, the images referenced in
paragraphs 19, 22, and 27 appear to be nude photos of the user of the Facebook account,
Minor A.
                                            9
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             Facebook Account 1:        I want to tell u that u have a very beautiful
                                        Body and your Boobs is so nice and your pussy
                                        is beautiful i love it

      22.    Minor A’s Facebook account then uploaded additional content that has

since been obtained pursuant to a search warrant to Facebook, consisting of a frontal

image of Minor A, in which she is seated on the ground with her right leg up on the

bed, wearing a gray shirt pulled up so that her breasts are visible and nude from the

waist down, such that her face, breasts, and labia are visible.

      23.    Also according to NCMEC, on or about May 27, 2020, at approximately

5:32 p.m. UTC, the Facebook accounts exchanged the following messages:

             Facebook Account 1:        Ii want u to take fingeres and open pussy baby
                                        i want to see inside pussy put camera closer

             Minor A:                   actually i love you too and i assure you i don’t
                                        fool you and I love you and thank you for being
                                        here to help me and i’m happy today

             Facebook Account 1:        I cant wait to have Sex with u in December as
                                        u promise you will give me your Virginity

             Minor A:                   wait oh my gosh my older brother is awake
                                        but he has never seen me picture naked

             Minor A:                   Yes sure and when you send money love?

             Minor A:                   so that I can buy what we can eat and grocery

             Facebook Account 1:        Ok am getting paid on friday my day that is
                                        saturday your day is that ok my love




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              Minor A:                    Ok I’ll wait and advance thankyou my love
                                          [kissing emoji] [four heart emojis] 5

       24.    Also according to NCMEC, on or about May 27, 2020, at approximately

5:40 p.m. UTC, the Facebook accounts exchanged the following messages:

              Facebook Account 1:         U did not take the pic i told u the one i want
                                          you to take your fingers and open your pussy
                                          i wanted to see inside pussy how beautiful and
                                          pink

              Minor A:                    later I was going to pass the picture again
                                          because my brother woke up and he almost
                                          saw me taking a picture naked

              Facebook Account 1:         But next time please never ever lie to me or
                                          Scam me because as i told u if u want a good
                                          life be honest to me and truthful always. Be a
                                          good girl am a very good bf if u are honest

              Minor A:                    I will never deceive you and love you and will
                                          never do anything bad iloveyouuuu [three
                                          heart emojis]

              Minor A:                    I’m just as happy today and lucky as I am
                                          [four kissing emojis]

              Minor A:                    Love i want buy slipper

       25.    Minor A’s Facebook account then uploaded additional content that has

since been obtained pursuant to a search warrant to Facebook, consisting of an image

of pink slippers.




5 In my training and experience, I have learned that emojis are digital images or icons used

to express ideas or emotions in electronic communications.
                                            11
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      26.    Also according to NCMEC, on or about May 27, 2020, at approximately

5:47 p.m. UTC, the Facebook accounts exchanged the following messages:

             Minor A:                  I want to sleep because I haven’t slept yet and
                                       tomorrow let’s talk and be careful there
                                       iloveyouuuuu [four heart emojis]

             Facebook Account 1:       Ok but u will continue with the pics i told u ok
                                       thank u and see how easy that was and don’t
                                       be shy u are my gf now I love u

      27.    Minor A’s Facebook account then uploaded additional content that has

since been obtained pursuant to a search warrant to Facebook, consisting of a frontal

image of Minor A that appears based on the angle to have been taken as a “selfie,”

while she was sitting with her legs apart and the phone or camera between her legs

facing her. Minor A’s face and breasts are visible, and she appears to be using one

hand to open her labia toward the phone or camera.

      28.    Also according to NCMEC, on or about May 27, 2020, at approximately

6:19 p.m. UTC, the Facebook accounts exchanged the following messages:

             Minor A:                  Doneee iloveyoutoooo [four heart emojis]

             Facebook Account 1:       Very good job an so proud of u and u have a
                                       very beautiful Pink Pussy i love it cant wait
                                       until December to taste it

             Facebook Account 1:       Baby never be shy to me ok am your Man

             Facebook Account 1:       And i will never hurt u




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      B.     Identification of KARL QUILTER as User of Facebook
             Account 1

      29.    On or about September 17, 2020, United States Magistrate Judge Beth

W. Jantz issued search warrants for Facebook Account 1 and Minor A’s Facebook

account (20 M 488). The search warrant results provided by Facebook included,

among other things, the above messages and images exchanged between Facebook

Account 1 and Minor A, and other communications between Facebook Account 1 and

Minor A and between Facebook Account 1 and other Facebook accounts believed to

be used by other minor victims in the Philippines (including, among others, “Minor

E,” and “Minor F”), as well as IP addresses used to access Facebook Account 1. As

discussed further below, based on the IP addresses used to access Facebook

Account 1, and the content of communications to and from Facebook Account 1, law

enforcement identified KARL QUILTER as the user of Facebook Account 1.

      30.    According to the search warrant results from Facebook, Facebook

Account 1 was created on or about February 8, 2018, appears to have been suspended

on or about June 19, 2020 (as that is the last date for which content was produced),

and was deactivated in or about July 2020. Facebook Account 1 appears to have

communicated with Minor A’s Facebook account from approximately May 1, 2020 to

June 16, 2020, during which time the accounts exchanged sexually explicit messages

and images and the users, QUILTER and Minor A, appear to have engaged in video

calls (as discussed further in paragraph 36 below).



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       31.    According to Comcast records, for the most recent time period for which

records are available (approximately April 6, 2020, to June 19, 2020), 6 all of the

Comcast IP addresses used to access Facebook Account 1 were either subscribed to

KARL QUILTER with a Chicago residence as the listed service address and billing

address, or were subscribed to a nursing center at which—according to the search of

a law enforcement database (see paragraph 33 below)—QUILTER previously

worked. 7

       32.    More specifically, according to Comcast records, at least eight of the

Comcast IP addresses used to access Facebook Account 1 in the above time period

were subscribed to QUILTER at his Chicago address.

       33.    Also according to Comcast records, on or about June 19, 2020, an IP

address used to access Facebook Account 1 was subscribed to a nursing and

rehabilitation center with a listed service address in Chicago, Illinois. (“Nursing

Center A”). According to a search of a law enforcement database, QUILTER appears

to be employed as a Certified Nurse’s Assistant (or “CNA”) at a nursing center located

in Northbrook, Illinois (“Nursing Center B”) and appears to have been employed

previously at Nursing Center A.




6 Based on my training and experience, I know that Comcast only retains IP address
assignment information for a certain period of time (approximately six months).
7 Other IP addresses used to access Facebook Account 1 were serviced by AT&T. According

to AT&T records, the one of the IP addresses was registered to a third-party individual in
Indianapolis, Indiana, another was registered to a third-party business account, and a third
had no associated records because AT&T does not retain records regarding mobile IPs.
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       34.    According to Illinois Secretary of State records, KARL QUILTER is a 57-

year old black male who resides at his Chicago address. 8

       35.    Also according to the search warrant results from Facebook, on or about

May 21, 2020, Facebook Account 1 sent a photograph that appears to be a “selfie” of

a black male wearing blue medical scrubs. Based on and comparison to the driver’s

license photograph of QUILTER, I identified the black male in the photograph as

QUILTER.

       36.    Also according to the search warrant results from Facebook, on or about

June 4, 2020, at approximately 9:05 a.m. UTC, Minor A’s Facebook account sent three

images appearing to be screenshots from a video chat between Minor A and

QUILTER. More specifically, on the right side of all three screenshots was a young

Asian female, while on the left side of all three screenshots was an older black male.

Based on comparison to publicly available photographs of Minor A from her public

Facebook page, and the driver’s license photograph of QUILTER, I identified the

female in the video-call screenshots as Minor A and the male as QUILTER.

       37.    According to the search warrant results from Facebook, QUILTER,

using Facebook Account 1, also communicated with the users of other Facebook

accounts regarding QUILTER’s travels overseas in late 2017 and early 2018, which I




8 According to Illinois Secretary of State records, QUILTER’s birthdate is in December. Thus,

at the time of his messages with Minor A in May 2020, he was 55 years old.
                                             15
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compared to Customs and Border Protection (“CBP”) records for QUILTER’s

international travel.

       38.    For example, on or about February 15, 2018, QUILTER, using Facebook

Account 1, sent a photograph of himself 9 to another Facebook account and wrote,

“that’s me I just came back from Philippines in January 15th,” and “I was in Silay . .

. . and Guinhalaran.”

       39.    Also, on or about January 1, 2019, QUILTER, using Facebook Account

1, sent messages to another Facebook account saying, “I ask that because I go to

phillippines I visit Guinhalarn Silay Talisay Bacolod Iloilo Cebu,” and “I was their

last December until January.”

       40.    Also, on or about September 19, 2019, QUILTER, using Facebook

Account 1, sent message to another Facebook account saying, “Yes I was their [sic] in

Philippines twice,” and “I had my Birthday Party at Sunburst Resort in 2017

December 21st. . . .”

       41.    According to CBP records, on or about November 28, 2017, QUILTER

traveled from Chicago to Hong Kong, returning from Hong Kong to Chicago on or

about January 12, 2018. Based on my training and experience, I have learned that

the CBP database records only the departure port in the United States and the

international port(s) to which the traveler directly departs from the United States,




9 Based on comparison to QUILTER’s driver’s license photo, I identified this photo as one of

QUILTER.
                                            16
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and not other subsequent destinations of the traveler. Thus, the timeframe during

which QUILTER was in Asia is consistent with his having traveled to and been

present in the Philippines in December 2017 and January 2018, as described in the

above messages.

      42.    In addition, as noted above in paragraphs 38 and 39, QUILTER, using

Facebook Account 1, referenced having traveled to Guinhalaran and Silay, cities

located near one another in the Philippines. In addition, according to the results of

an open source search, Sunburst Resort, where QUILTER, using Facebook Account 1,

referenced having celebrated his birthday in December 2017, appears to be located in

Silay City, Philippines.

      43.    Based on my review of QUILTER’s communications using Facebook

Account 1, it appears that a number of the suspected minor victims with whom

QUILTER has communicated, including, for example, Minor A, Minor E, and Minor

F, reside in or around Silay City, based on the locations listed on the publicly

available Facebook pages for their accounts and their communications with

QUILTER.

      C.     Facebook Communications With Minor E Further Identifying
             QUILTER

      44.    According to the search warrant results from Facebook, between

approximately February 8, 2019, to June 19, 2020, QUILTER, using Facebook

Account 1, communicated with another Facebook user, who—based on the content of



                                         17
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the communications and the images on her publicly available Facebook page—is

believed to be another minor female in the Philippines (“Minor E”). 10

       45.    For example, on or about February 8, 2018, at approximately 4:37 p.m.

UTC, the following messages were exchanged between QUILTER, using Facebook

Account 1, and the first of Minor E’s Facebook accounts:

              Minor E:      Who is thiiiis?

              QUILTER: Go to Skype and read my message: I left u

              Minor E:      Daddy this is u?

              Minor E:      Send me your pic if this is u

       46.    At approximately 4:45 p.m. UTC, QUILTER, using Facebook Account 1,

sent a photo to Minor E’s Facebook account. The photo depicts a young Asian female,

believed based on comparison to photographs from the publicly available Facebook

page for Minor E’s Facebook account to be Minor E, resting her head on her hand

with her elbow resting on the leg of a black male, whom I recognize as QUILTER

based on comparison to his driver’s license photo and other photographs from his

Facebook account. Both are fully clothed and smiling at the camera. Based on my

training and experience, the content and context of the communications, and my

knowledge of the investigation, I believe that QUILTER has had physical contact



10 According to records from Facebook, Minor E’s Facebook account is subscribed to a user

whose name appears consistent with Minor E’s listed display name. According to law
enforcement review of a copy of a Philippine birth certificate, Minor E’s first and last name
as associated with her Facebook account are consistent with the first and last names of a
Philippine female born in 2003.
                                              18
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with Minor E and also uses other applications, such as Skype, to communicate with

Minor E and other minor victims.

      47.   Also on or about February 8, 2018, Minor E’s Facebook account sent to

QUILTER, at Facebook Account 1, approximately nineteen nude photos of a post-

pubescent female, approximately 13 to 16 years of age and—based on comparison of

the photos in which the female’s face is visible to photographs from the publicly

available Facebook pages for Minor E’s Facebook accounts—believed to be of Minor

E. Some of the images include close-up photographs of Minor E’s breasts and labia.

In conjunction with these images, the following messages were exchanged between

QUILTER, using Facebook Account 1, and Minor E:

            QUILTER: The last one u send with the 3 pics together on right put
                     your go get inside like that one just like that position

            QUILTER: I hope we will have sex when I go their because u will
                     already be 15 and half

            QUILTER: Maybe 16

            Minor E:     Yiz sure

      48.   Also on or about February 8, 2018, at approximately 11:51 p.m. UTC,

QUILTER, using Facebook Account 1, sent the following message to Minor E’s

Facebook account identifying himself and his address at his Chicago residence:

            QUILTER: Ok I already sent you $35.00 US Dollars and you will
                     receive 1,737.59 in Pesos the Tracking # 228-109-2585
                     WESTERN UNION

            QUILTER: My Name
                     KARL QUILTER

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                         My Address
                         4[xxx] WEST ARMITAGE AVE
                         My City
                         CHICAGO
                         My State
                         ILLINOIS
                         My Zip Code
                         606[xx]
                         My Phone
                         +1-[xxx-xxx]-5959

      49.   On or about February 9, 2018, at approximately 1:56 a.m. UTC, Minor

E’s Facebook account sent to QUILTER, at Facebook Account 1, the following

messages:

            Minor E:     dont reply on this acc. We chat on my second acc.

            Minor E:     Don’t reply on this acc. Dad I will delete this convo! We chat
                         on my second acc. bye.

      50.   Based on my review of the search warrant results from Facebook, I

found communications between QUILTER, at Facebook Account 1, and another

Facebook account bearing a display name similar to that of Minor E’s first Facebook

account discussed above. Based on my review of images from the publicly available

Facebook page for this second account, as well as the images, videos, and messages

sent between this Facebook account and QUILTER, at Facebook Account 1, I believe

that this is a second Facebook account used by Minor E. For example, the images and

videos sent from this second Facebook account used by Minor E to QUILTER, at

Facebook Account 1, include approximately 54 videos of a young female I identified




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as Minor E, based on comparison to other photographs from the publicly available

Facebook pages for both of her accounts.

      51.    On or about July 28, 2019, at approximately 4:54 p.m. UTC, QUILTER,

using Facebook Account 1, sent the following messages to Minor E’s second Facebook

account:

             QUILTER: Do u know how many times u say that to me that when i
                      go their we will have sex well i was their after u told me if
                      i make your Birthday Party we will have Sex and i go their
                      but did we have sex no we did not because i told u I will
                      come visit u then u invite your friends with us so we never
                      alone so how can i Forgive u all the time everytime and u
                      repeat over and over and over Scam to me and say very bad
                      things to me and u go to your bf and do Sex and drink and
                      smoke with the money I send u then u dont chat me
                      anymore u dont do what u say but each time u have
                      problems am the one u come to and remember what about
                      your bf and all those men and boys u have sex with why
                      they dont help you i dont have that kind of money to help
                      your father and i don’t have money at this time am sorry

Based on my training and experience, the content and context of this communication,

and my knowledge of the investigation, I believe that QUILTER traveled to the

Philippines to engage in illicit sexual conduct with Minor E.

      52.    On or about January 18, 2020, at approximately 9:08 a.m. UTC, the

following messages were exchanged between QUILTER, at Facebook Account 1, and

Minor E’s second Facebook account:

             QUILTER: Can i ask how old u will be this coming November

             Minor E:     17 daddy

             Minor E:     Im 16 now

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       53.    On or about February 20, 2020, at approximately 5:05 p.m. UTC, the

following messages were exchanged between QUILTER, at Facebook Account 1, and

Minor E’s second Facebook account:

              QUILTER: But tomorrow I will deactivate for ever I will not keep I
                       only make so its easy for u to chat and send me pics but if
                       u not going to send then I don’t need a facebook account

              Minor E:      Oh?so what u will say on my parents?

              QUILTER: That I will just use Skype and Viber 11 because i don’t want
                       to chat my old friends from before

Based on my training and experience, the content and context of the communications,

and my knowledge of the investigation, I believe that QUILTER uses other

applications, including Skype, to communicate with Minor E and other minor victims.

       54.    On or about March 11, 2020, at approximately 7:04 p.m. UTC,

QUILTER, using Facebook Account 1, sent the following messages to Minor E’s

second Facebook account:

              QUILTER: I want to see your face while you putting fingers inside all
                       the way inside if u can make sound i want and dont spend
                       all your time on just touching your Boobs i want u to open
                       Pussy hole so i can see inside like u did before and i want
                       to see fingers going inside i want you to mausterbate until
                       u cum i want to see that pussy so wet and sticky and u
                       making 7 videos of 2 mins each no less time it can be more
                       than 2 mins also i want to see pussy from tbe back u open
                       it wide from back and u can put fingers inside from back


11 Based on my training and experience, I know that Viber is a calling and messaging app

with voice and video call functionality, as well as messaging and chat functionalities. I also
know that Viber is a multiplatform application that allows for syncing across mobile devices,
tablets, and laptop or desktop computers.
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                            too but i want to see it clear not dark not blurry so in each
                            video u do sonethi g different or u can do all kind of things
                            with your pussy and your boobs u can lick your boobs too
                            jyst do a good job and if u dont do what i ask u like i said
                            am not paying the loan cause u promise u will do whatever
                            I say and want and please dekete after u read please for
                            your protection and mine

              QUILTER: Screen shoot and send me tbat u delete all conversations

On or about March 12, 2020, at approximately 2:26 a.m. UTC, Minor E’s second

Facebook account sent to QUILTER, at Facebook Account 1, approximately seven

videos depicting Minor E nude and masturbating.

       D.     Facebook Communications with Minor F Further Identifying
              QUILTER

       55.    Also according to the search warrant results from Facebook, between

approximately May 16, 2020, to June 19, 2020, QUILTER, using Facebook Account

1, communicated with another Facebook user, who—based on the content of the

communications and the images on her publicly available Facebook page—is believed

to be another minor female in the Philippines (“Minor F”). 12

       56.    For example, on or about May 16, 2020, at approximately 6:37 a.m. UTC,

the following messages were exchanged between QUILTER, using Facebook Account

1, and Minor F’s Facebook account:

              QUILTER: How old are you


12 According to records from Facebook, Minor F’s Facebook account is subscribed to a user

whose name appears consistent with Minor F’s listed display name. According to law
enforcement review of a copy of a Philippine birth certificate, Minor F’s first and last names
as associated with her Facebook account are consistent with the first and last names of a
Philippine female born in 2005.
                                             23
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            Minor F:     im 17 years old and I do not have a boyfriend

            QUILTER: Really that is what all girls say and I don’t like a girl who

                         lied or not loyal I like a truthful girl

            Minor F:     yes I am not lying

      57.   Approximately one and a half hours later, the following messages were

exchanged between QUILTER, using Facebook Account 1, and Minor F’s Facebook

account:

            Minor F:     what is your decision? will you buy me a phone?

            QUILTER: Don’t rush me

            Minor F:     ok im sorry I love you so much

            Minor F:     im so excited because we will call and see you in the video

                         call

            QUILTER: How can you love me we don’t even see each other or know

                         each other u did not even show me a sexy pic so I know I

                         can trust u

            Minor F:     Ill give you a good picture as long as you promise that you’ll

                         give me a phone purchase

            QUILTER: Ok send me the pic and don’t worry I will buy u a phone

Minor F’s Facebook account then sent approximately eight photos total (not all sent

at the same time) depicting a clothed post-pubescent female, believed based on

comparison to photographs from the publicly available Facebook page for Minor F’s


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Facebook account to be Minor F. After Minor F’s Facebook account sent two of the

photos, QUILTER, using Facebook account 1, and Minor F’s Facebook account

exchanged the following messages:

                Minor F:   im so sexy right? My boobs are big

                QUILTER: Your boobs are just right but I want more sexy

                QUILTER: I love your boobs

      58.       Also, on or about June 19, 2020, at approximately 12:07 p.m. UTC,

QUILTER, using Facebook Account 1, sent a video of himself grilling food at his

residence. QUILTER’s face was visible in the video, and I identified him based on

comparison to his driver’s license photo and other photographs of him from his

Facebook account. I also recognized his residence upon execution of the search

warrant for his residence on or about November 24, 2020, as described further below

in Section E.

      59.       Shortly thereafter, Minor F’s Facebook account sent to QUILTER, at

Facebook Account 1, two photos of a post-pubescent girl’s chest while she is wearing

a green and white bra and pulling up her white shirt to reveal her chest. Based on

the angle of the photos, they appear to have been taken as “selfies.” In the first photo,

the girl’s face is visible, and based on comparison to photos from Minor F’s publicly

available Facebook page believed to be of the user of the account (Minor F), I

recognized the girl as Minor F. In the second photo, the girl’s face is not visible, but

the bra appears to be the same green and white one from the first photo of Minor F.


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      60.    Also on or about June 19, 2020, QUILTER, using Facebook Account 1,

and Minor F’s Facebook account then exchanged the following messages:

             QUILTER: That’s it I taught u said u love me by the way Beautiful Bra

             QUILTER: I want to see Boobs not Bra

             Minor F:      Wait sweety

Minor F’s Facebook account then sent another photo appearing based on the angle

and the content to be a “selfie” of her chest, in which the green and white bra was

pulled up to expose both of her breasts. Minor F’s face was not visible in this photo.

QUILTER, using Facebook Account 1, and Minor F’s Facebook account then

exchanged messages in which, in sum and substance, QUILTER doubted that the

photo was of Minor F and accused Minor F of not trusting him because the photo did

not show Minor F’s face. Minor F’s Facebook account then sent two additional photos

appearing based on the angles to be “selfies” of her chest, with her green and white

bra pulled up to expose both her breasts, and her face visible and looking at the

camera. Based on comparison to photos from Minor F’s publicly available Facebook

page believed to be of the user of the account (Minor F), I recognized the girl in these

photos as Minor F.

      61.    Also on or about June 19, 2020, QUILTER, using Facebook Account 1,

and Minor F’s Facebook account later exchanged the following messages:

             QUILTER: U still don’t trust me but I love your Boobs so now can I see

                           your Pussy now u open it wide so I can see the inside


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            Minor F:     Okay wait

            [record of a call through Facebook]

            Minor F:     Ill do it later because my mother and father is there

            QUILTER: I want you to open pussy so I can see inside hole

            Minor F:     Later sweety

            [record of a call through Facebook]

            QUILTER: I wish u can make me a video 3mins long that u mill

                         Mausterbate. But I want to see your face that u enjoying it

            Minor F:     that’s okay sweety

            QUILTER: U put one finger first then w fingers put finger all the way

                         inside but I want to see face when finger inside

            QUILTER: Then two fingers

            QUILTER: Please baby

      E.    Search of QUILTER’s Residence and Identification of the
            Subject Account

      62.   On or about November 23, 2020, United States Magistrate Judge Beth

W. Jantz of the United States District Court for the Northern District of Illinois

issued a search warrant for QUILTER’s residence in Chicago (20 M 613).

      63.   On or about November 24, 2020, law enforcement agents executed the

search warrant for QUILTER’s residence. KARL QUILTER, as well as his wife,

daughter, and daughter’s girlfriend were present at the time of the search, and all

parties confirmed that KARL QUILTER is the only person that resides in his bedroom

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and that his wife resides in her own room. Also, KARL QUILTER’s passport was

located inside of his bedroom.

      64.    Law enforcement agents seized multiple electronic devices in KARL

QUILTER’s bedroom, including the LG Phone, located on his bed, and the Samsung

Tablet, located next to the bed among other miscellaneous items. KARL QUILTER

confirmed that the LG Phone belonged to him and provided law enforcement with the

passcode to unlock the LG Phone. Subsequent law enforcement examination of the

Samsung Tablet revealed that its Bluetooth device name is “Karl Quilter.” Additional

electronics were also seized from KARL QUILTERs bedroom, including a laptop

computer and multiple cellular telephones, and all of the seized electronic devices

were put in airplane mode and transported to the HSI Chicago Field Office.

      65.    Forensic examination of QUILTER’s devices is ongoing, and has

revealed, among other things, that the Skype application was installed to both the

LG Phone and the Samsung Tablet, and that QUILTER appears to have used the

Subject Accounts on those devices to communicate with others, including Skype

users believed based on their user names and the contents of the communications to

be Minor E and Minor F.

      66.    Based on law enforcement review of the Samsung Tablet and the LG

Phone, Subject Account 1 is the only saved Skype user account on the Samsung

Tablet, and Subject Account 2 is the only saved Skype user account on the LG

Phone.


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      67.    According to records from Microsoft, Subject Account 1 is registered

to “Karl Quilter,” was created on or about December 7, 2010, and is associated with

email address karlquiltersr@yahoo.com. According to service provider records, the

login IP address used to access Subject Account 1 on or about July 5, 2019 was

registered to KARL QUILTER at his residence.

      68.    According     to      records    from   Yahoo,   the   email   address

karlquiltersr@yahoo.com is associated with “Karl Quilter” at a phone number ending

in -5959. According to service provider records, in approximately May 2020, the IP

address used to access this email address was registered to QUILTER at his

residence.

      69.    According to other service provider records, the -5959 phone number

associated with QUITER’s karlquiltersr@yahoo.com email account is subscribed to by

“Karl Quilter” at his residence.

      70.    According to records from Microsoft, Subject Account 2 is registered

to “Karl Quiltet,” was created on or about May 12, 2018, and is associated with the

same phone number ending in -5959.

      71.    On both the Samsung Tablet and the LG Phone, law enforcement

observed stored communications and records of video calls between the Subject

Accounts and other Skype users.

      72.    For example, law enforcement observed that between approximately

January 29, 2018, and November 23, 2020, both Subject Accounts had


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communicated with another Skype user whose user name consisted of the same first

name and last name as the Facebook display name associated with Minor E’s

Facebook account. 13 Records from Microsoft also listed in the Skype registration

profile the same first name and last name as the Facebook display name associated

with Minor E’s Facebook account. Based on the account name, the contents of the

communications, and the broader investigation, I believe this Skype user to be Minor

E.

       73.    For example, between approximately November 3, 2020, to November

23, 2020, QUILTER, using Subject Account 2 communicated with the Skype user

believed to be Minor E regarding QUILTER wire transferring money to Minor E via

Western Union, using the name and address of a third-party individual that

QUILTER said was his relative. Those communications ended as follows:

              QUILTER: Dont forget i send extra so that u can send me

              Minor E:      thankyouso much daddy

       74.    Also, stored on the LG Phone, law enforcement observed stored Skype

communications sent by QUILTER, using Subject Account 2, to another Skype

user, whose user name exactly matched Minor F’s Facebook profile name. Records

from Microsoft also listed in the Skype registration profile the same name as the

Facebook display name associated with Minor F’s Facebook profile. Based on the




13 Minor E’s Facebook account display name also includes what appears to be a middle name

or additional last name between her first and last name.
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account name, the contents of the communications sent by QUILTER to the Skype

account, and the broader investigation, I believe this Skype user to be Minor F.

      75.       More specifically, on or about August 21, 2020, QUILTER, using

Subject Account 2, sent to the Skype user believed to be Minor F a Skype message

stating “I did not know u have a Skype account too.” As referenced above in Section

D, QUILTER previously had communicated with Minor F on Facebook, and based on

the content and context of this communication and my knowledge of the investigation,

I believe that QUILTER was referencing that he did not know that Minor F had a

Skype account in addition to her Facebook account. Also, on or about October 29,

2020, QUILTER, using Subject Account 2, sent to the user believed to be Minor F

a video, which appeared to be a recording of a party taking place at a nursing center.

The Skype user believed to be Minor F did not respond to either of the messages.

      76.       On or about January 5, 2021, and March 8, 2021, law enforcement sent

preservation requests to Microsoft for Subject Account 1, and Subject Account 2,

respectively.

      77.       From my training and experience I know that messages found on digital

media often do not show the entirety of conversations and that the full content of the

conversations is likely stored within Skype servers. Based on my training and

experience, the Skype application is often used in sexually explicit cases involving

minors. Skype does not record, or monitor, live video calls, thus making it a viable

medium for child exploitation targets.


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         78.    Based    on   my   training   and   experience   in   child   pornography

investigations, I believe that a search of a Skype account contents of individuals

engaged in criminal conduct often yields investigative leads relating to:

                a.      the identities of participants engaged in and witnesses to

possession, receipt, and distribution of child pornography offenses;

                b.      the contact information of participants engaged in and witnesses

to possession, receipt, and distribution of child pornography offenses;

                c.      the timing of communications among participants and other

individuals involved in possession, receipt, and distribution of child pornography

offenses;

                d.      the methods and techniques used in possession, receipt, and

distribution of child pornography offenses;

                e.      information regarding the physical location of participants

engaged in and witnesses to possession, receipt, and distribution of child pornography

offenses;

                f.      images or videos constituting child pornography;

                g.      communications referencing the solicitation, possession, or

transmission of child pornography.

III.     BACKGROUND INFORMATION CONCERNING CHILD
         PORNOGRAPHY

         79.    Based upon my own knowledge, training, and experience in child

exploitation and child pornography investigations, and the experience and training

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of other law enforcement officers with whom I have had discussions, computers affect

the methods used by people who possess, receive, distribute, and transport child

pornography in these ways:

      80.    Those who create child pornography can produce both still and moving

images directly from a common video or digital camera, and other devices that create

video and still images, including most cellular telephones and Personal Digital

Assistants (“PDA”) (e.g., a Blackberry). Images from such devices can be transferred

to a computer by attaching the device to the computer using a cable, or by uploading

images from the device’s memory card directly onto the computer or into a storage

account accessible from any computer with the capability of accessing the internet

(sometimes referred to as a “cloud” account). Once on the computer, images can then

be stored, manipulated, transferred, or printed. This includes transfer to some of the

same types of devices that are commonly used to create child pornography, such as

cellular telephones and PDAs, as well as other computers. As a result of this

technology, it is relatively inexpensive and technically easy to produce, store, and

distribute child pornography.

      81.    The Internet allows any computer to connect to another computer.

Electronic contact can be made to millions of computers around the world. The

Internet allows users, while still maintaining anonymity, to locate (i) other

individuals with similar interests in child pornography; and (ii) websites that offer

images of child pornography. Child pornography collectors can use standard Internet


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connections, such as those provided by businesses, universities, and government

agencies, to communicate with each other and to distribute child pornography. They

can also distribute and collect child pornography with peer-to-peer (“P2P”) file

sharing, which uses software to link computers together through the Internet to form

a network that allows for the sharing of digital files among users on the network.

These communication links allow contacts around the world as easily as calling next

door. Additionally, these communications can be quick, relatively secure, and as

anonymous as desired. All of these advantages, which promote anonymity for both

the distributor and recipient, are well known and are the foundation of transactions

between child pornography collectors over the Internet.

      82.    The computer’s capability to store images in digital form makes it a

common repository for child pornography. Internal and external computer hard

drives typically store vast amounts of data, and hard drives with the capacity of 500

or more gigabytes – which can store tens of thousands of images at very high

resolution – are not uncommon. Other electronic storage media, such as thumb drives

and memory sticks, can store hundreds of images and dozens of videos. Likewise,

optical storage media, which includes CD-ROMs and DVDs, and electromagnetic

storage media, such as floppy disks, also can hold hundreds of images and multiple

videos. Such electronic, optical, and electromagnetic storage media are very

commonly used by those who collect child pornography to store images and videos

depicting children engaged in sexually explicit activity. Agents who execute child


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pornography search warrants often find electronic, optical, and/or electromagnetic

storage media containing child pornography in the same location as or near the

computer that was used to obtain, access, and/or store child pornography.

       83.    My training and experience, and the training and experience of other

agents whom I have consulted, have shown the following:

              a.    Individuals who possess, transport, receive, and/or distribute

child pornography often collect sexually explicit materials, which may consist of

photographs, magazines, motion pictures, video tapes, books, slides, computer

graphics or other images, as well as literature describing sexually explicit activity

involving children. Such individuals frequently store their child pornography on

multiple electronic, optical, and/or electromagnetic storage media, including not only

their computer, but also on external hard drives, floppy disks, CD-ROMs, DVDs,

memory sticks, thumb drives, cell phones, PDAs, and other such media. Many of these

individuals also collect child erotica, which consist of items that may not rise to the

level of child pornography but which nonetheless serve a sexual purpose involving

children.

              b.    Individuals who possess, transport, receive, and/or distribute

child pornography often seek out like-minded individuals, either in person or on the

Internet, to share information and trade depictions of child pornography and child

erotica.     The different Internet-based vehicles used by such individuals to

communicate with each other include, but are not limited to, P2P, e-mail, e-mail


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groups, bulletin boards, Internet Relay Chat, newsgroups, instant messaging, and

other similar interfaces.

             c.     Individuals who possess, transport, receive, and/or distribute

child pornography often collect, read, copy, or maintain names, addresses (including

e-mail addresses), phone numbers, or lists of persons who have advertised or

otherwise made known in publications and on the Internet that they have similar

sexual interests. These contacts are maintained as a means of personal referral,

exchange, or commercial profit. These names may be maintained in the original

medium from which they were derived, in address books or notebooks, on computer

storage devices, or merely on scraps of paper.

             d.     The majority of individuals who possess, transport, receive,

and/or distribute child pornography rarely, if ever, dispose of their sexually explicit

materials and may go to great lengths to conceal and protect from discovery, theft,

and damage their collections of illicit materials. These individuals almost always

maintain their collections in the privacy and security of their homes or other secure

location. These individuals may keep their collections in locked containers including

filing cabinets, safes, or lockboxes. These individuals may also maintain their

collections in password-protected or encrypted electronic media. They may keep these

passwords, and other information concerning their use of the computer, on

handwritten or printed notes that they store in personal areas and around the

computer.


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               e.    Possessors, traders and distributors of child pornography

sometimes store their illegal images and videos online in remote storage accounts.

Therefore, any records, documents, invoices and materials in any format or medium

that concern online storage or other remote computer storage could indicate that a

person is storing illegal material in an online storage account.

IV.     SEARCH PROCEDURE

        84.    In order to facilitate seizure by law enforcement of the records and

information described in Attachment A, this affidavit and application for search

warrant seek authorization, pursuant to 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and

2703(c)(1)(A), to permit employees of Microsoft to assist agents in the execution of

this warrant. In executing this warrant, the following procedures will be

implemented:

               a.    The search warrant will be presented to Microsoft personnel who

will be directed to the information described in Section II of Attachment A;

               b.    In order to minimize any disruption of computer service to

innocent third parties, Microsoft employees and/or law enforcement personnel

trained in the operation of computers will create an exact duplicate of the computer

accounts and files described in Section II of Attachment A, including an exact duplicate

of all information stored in the computer accounts and files described therein;




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      85.    Microsoft employees will provide the exact duplicate in electronic form

of the information described in Section II of the Attachment A and all information

stored in those accounts and files to the agent who serves this search warrant; and

      86.    Following the protocol set out in the Addendum to Attachment A, law

enforcement personnel will thereafter review all information and records received

from Microsoft employees to locate the information to be seized by law enforcement

personnel pursuant to Section III of Attachment A.




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   30th
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                                  ATTACHMENT A

I.      SEARCH PROCEDURE

        1.     The search warrant will be presented to Microsoft personnel, who will

be directed to isolate those accounts and files described in Section II below.

        2.     In order to minimize any disruption of computer service to innocent

third parties, company employees and/or law enforcement personnel trained in the

operation of computers will create an exact duplicate of the computer accounts and

files described in Section II below, including an exact duplicate of all information

stored in the computer accounts and files described therein.

        3.     Microsoft employees will provide the exact duplicate in electronic form

of the accounts and files described in Section II below and all information stored in

those accounts and files to the agent who serves the search warrant.

        4.     Following the protocol set out in the Addendum to this Attachment, law

enforcement personnel will thereafter review information and records received from

company employees to locate the information to be seized by law enforcement

personnel specified in Section III below.

II.     FILES AND ACCOUNTS TO BE COPIED BY EMPLOYEES OF MICROSOFT

        5.     To the extent that the information described below in Section III is

within the possession, custody, or control of Microsoft, Microsoft is required to

disclose the following information to the government for the following Skype user IDs

(the Subject Accounts):
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                                   live:karlquilter

                               live: 51746ca6e2623e9e

             a.     all records or other information pertaining to the Subject

Accounts, including all files, databases, and database records stored by Microsoft in

relation to that account or identifier.

             b.     all information in the possession of Microsoft that might identify

the subscribers related to the Subject Accounts, including names, addresses,

telephone numbers and other identifiers, email addresses, business information, the

length of service (including start date), types of services utilized, means and source

of payment for services (including any credit card or bank account number), and

information about any domain name registration.

             c.     all records pertaining to communications between Microsoft and

any person regarding the Subject Accounts, including contacts with support

services and records of actions taken.

             d.     any messages, records, files, logs, or information that has been

deleted but is still available to Microsoft Corporation, or has been preserved pursuant

to requests made under 18 U.S.C. § 2703(f).

             e.     All activity logs for the Subject Accounts and all other

documents showing the user’s chats, calls, video calls, or other account activity.




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              f.       All photos and videos uploaded, sent, or received by the Subject

Accounts, including Exchangeable Image File (“EXIF”) data and any other metadata

associated with those photos and videos.

              g.       the contents of all messages associated with the Subject

Accounts, including stored or preserved copies of messages sent to and from the

account, draft messages, the source and destination addresses associated with each

message, the date and time at which each message was sent, and the size and length

of each message.

              h.       all records or other information regarding the identification of

the Subject Accounts, to include full name(s), physical address(es), telephone

number(s) and other identifier(s), records of session times and durations, the date on

which the account was created, the length of service, the IP address used to register

the account, log-in IP addresses associated with session times and dates, account

status, alternative email addresses provided during registration, methods of

connecting, log files, and means and source of payment (including any credit or bank

account number).

              i.       all records or other information stored by an individual using the

Subject Accounts, including address books, contact and buddy lists, calendar data,

pictures, and files.

              j.       All records or other information regarding the devices and

internet browsers associated with, or used in connection with, the Subject Account,


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including the hardware model, operating system version, unique device identifiers,

mobile network information, and user agent string.

             k.     All IP logs, including all records of the IP addresses that logged

into the Subject Accounts.

             l.     All Skype accounts associated with the Subject Accounts, by

cookies, recovery email address, or telephone number.

       Pursuant to 18 U.S.C. § 2703(d), the service provider is hereby ordered to

disclose the above information to the government within 14 days of the signing of this

warrant.

III.   Information to be Seized by Law Enforcement Personnel

       All information described above in Section II that constitutes evidence,

instrumentalities, fruits, and contraband concerning the sexual exploitation of

children; child pornography offenses; coercion or enticement of minors; or travel with

intent to engage in illicit sexual conduct, in violation of Title 18, United States Code,

Section 2251, 2252, 2252A, 2422, and 2423 (the “Subject Offenses”), as follows:

       1.    Items related to the identity of the user or users of the Subject

Accounts.

       2.    Items related to the physical location of the users of the Subject

Accounts at or near the times of the Subject Offenses.

       3.    Items related to the identities and contact information of participants in

or witnesses to the Subject Offenses.


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      4.     Images of child pornography as defined in 18 U.S.C. § 2256(8).

      5.     Items, including communications to or from the Subject Accounts,

concerning the possession, receipt, production, advertisement, or distribution of child

pornography as defined in 18 U.S.C. § 2256(8).

      6.     All items relating to Minor A, Minor E, and Minor F.

      7.     Items concerning minors visually depicted while engaged in sexually

explicit conduct, as defined in 18 U.S.C. § 2256(2).

      8.     Items concerning any and all international travel by KARL QUILTER.

      9.     Items concerning any and all monetary transfers involving the use of a

third-party money-transfer service, such as Western Union and MoneyGram.

      10.    All of the non-content records described above in Section II.




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                        ADDENDUM TO ATTACHMENT A

       With respect to the search of any information and records received from the

web-hosting company, law enforcement personnel will locate the information to be

seized pursuant to Section III of Attachment A according to the following protocol.

       The search procedure may include the following techniques (the following is a

non-exclusive list, and the government may use other procedures that, like those

listed below, minimize the review of information not within the list of items to be

seized as set forth herein):

                a.   searching for and attempting to recover any hidden, or encrypted

data to determine whether that data falls within the list of items to be seized as set

forth herein.

                b.   surveying various file directories and the electronic mail,

including attachments thereto to determine whether they include data falling within

the list of items to be seized as set forth herein.

                c.   opening or reading portions of electronic mail, and attachments

thereto, in order to determine whether their contents fall within the items to be seized

as set forth herein, and/or

                d.   performing key word searches through all electronic mail and

attachments thereto, to determine whether occurrences of language contained in such

electronic mail, and attachments thereto, exist that are likely to appear in the

information to be seized described in Section III of Attachment A.


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      Law enforcement personnel are not authorized to conduct additional searches

on any information beyond the scope of the items to be seized by this warrant.




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